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                                                NEWS RE LEAS E

             July 8, 2024                                                    Contact: Bill Cracraft
                                                                             mediarelease@ce9.uscourts.gov


                    Judicial Conduct and Disability Complaint
                                Number 22-90121
             SAN FRANCISCO – The Judicial Council of the Ninth Circuit filed an Order and Certification
             in In re Complaint of Judicial Misconduct, No. 22-90121, on May 23, 2024, concerning a
             complaint of judicial misconduct against U.S. District Judge Joshua M. Kindred of the District of
             Alaska. The Order and Certification is now being made public pursuant to 28 U.S.C. § 360(b)
             and in consultation with the Judicial Conference of the United States.

             The Order and Certification is the result of a thorough investigation conducted by a Special
             Committee appointed by Chief Circuit Judge Mary H. Murguia. In its Order and Certification,
             the Judicial Council concluded, among other things, that Judge Kindred engaged in misconduct
             by creating a hostile work environment for his law clerks and by having an inappropriately
             sexualized relationship with one of his law clerks both during her clerkship and after she became
             an Assistant United States Attorney. The former law clerk did not appear on any case before
             Judge Kindred while she was employed as an Assistant United States Attorney.

             In the Order and Certification, the Judicial Council publicly reprimanded and admonished Judge
             Kindred for his conduct, which violated the Judicial Conduct and Disability Act and the Code of
             Conduct for United States Judges. The Judicial Council also requested that Judge Kindred
             voluntarily resign and certified the matter to the Judicial Conference of the United States to
             consider impeachment.

             Judge Kindred resigned, effective Monday, July 8, 2024. The Judicial Conference of the United
             States will continue to consider the matter, including the certification with respect to
             impeachment.




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             Chief Judge Murguia made the following statement about this matter:

             “The Judiciary is entrusted to self-govern and, in doing so, must hold its federal judges to the
             highest standards of integrity and impartiality. We take judicial misconduct complaints seriously.
             When allegations arise, the Judiciary conducts a fair and thorough investigation that focuses on
             promoting a civil and respectful workplace, free of discrimination and harassment, and
             maintaining the integrity of the Judiciary. The process seeks to preserve the effective and
             expeditious administration of the business of the courts. In all respects, this was a serious and
             sensitive matter. I thank the witnesses who provided information, understanding fully how
             difficult that may have been. In my role as Chief, I will continue to ensure that our judges are
             held to the highest standards.”

             Members of the public or media who have questions regarding the allegations against Judge
             Kindred, the findings of the Judicial Council, or the outcome of the complaint, should refer to the
             attached Order and Certification.

             More information about the Judicial Conduct and Disability complaint process is available at:
             https://www.ca9.uscourts.gov/misconduct/guidelines/

             The Rules for Judicial-Conduct and Judicial-Disability Proceedings, as well as the Ninth
             Circuit’s Local Rules for Misconduct Proceedings, are available at:
             https://www.ca9.uscourts.gov/misconduct/rules/




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                                                                                                      FILED
                                                JUDICIAL COUNCIL                                       May 23 2024

                                             OF THE NINTH CIRCUIT                                 MOLLY C. DWYER, CLERK
                                                                                                   U.S. COURT OF APPEALS




              IN RE COMPLAINT OF                                      No. 22-90121

              JUDICIAL MISCONDUCT                                     ORDER




             Before: MURGUIA, Chief Circuit Judge, HAWKINS, NGUYEN, MILLER,
                     and BADE, Circuit Judges, SNOW, GEE, DU, and BASTIAN, Chief
                     District Judges*

                                         ORDER AND CERTIFICATION

                   This judicial misconduct order arises from a complaint against Judge Joshua
             M. Kindred, District Judge of the United States District Court of Alaska. The
             Judicial Council adopts the findings of the Special Committee, which include a
             105-page report along with 1,039 pages of exhibits. The Council concludes that:

                    (1)     Judge Kindred created a hostile work environment for his law clerks
                            by engaging in unwanted, offensive, and abusive conduct, and treating
                            the law clerks in a demonstrably egregious and hostile manner.

                    (2)     Judge Kindred engaged in misconduct by having an inappropriately
                            sexualized relationship with one of his law clerks during her clerkship
                            and shortly after her clerkship while she practiced as an Assistant
                            United States Attorney in the District of Alaska.

                    (3)     Judge Kindred did not retaliate against individuals for reporting his
                            behavior or participating in the misconduct process.

                    (4)     Throughout these proceedings, Judge Kindred lied to the Chief Judge,
                            the Special Committee, and the Council. Although the evidence

             *Circuit Judge Morgan Christen and Senior District Judge Timothy M. Burgess are members of
             the Judicial Council but did not participate in the consideration of this matter pursuant to RuleD-1
                                                                                                   Exhibit
             25(a) of the Judicial-Conduct and Judicial-Disability Rules.
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                            indicated that he had a sexual encounter with his former law clerk,
                            Judge Kindred maintained that he “never had any sexual contact with
                            [the law clerk].” Only when asked under oath during the Judicial
                            Council meeting of April 5, 2024, did he admit that he had
                            deliberately lied to the Special Committee.

                    In view of these findings and pursuant to 28 U.S.C. § 354(b)(2)(A), the
             Council certifies to the Judicial Conference of the United States that United States
             District Judge Joshua M. Kindred has engaged in conduct that might constitute one
             or more grounds for impeachment under Article II of the Constitution. It further
             orders that Judge Kindred be publicly reprimanded for the conduct described in
             this order that violates the Rules of the Judicial Conduct and Disability Act and the
             Code of Conduct for the United States Judges and is prejudicial to the effective and
             expeditious administration of the business of the courts and the administration of
             justice. It further requests that Judge Kindred resign voluntarily from the position
             of United States District Court Judge for the District of Alaska.

             I.     PROCEDURAL HISTORY

                   In November 2022, Chief Judge Mary H. Murguia received information
             about possible misconduct by the Honorable Joshua M. Kindred, District Judge of
             the United States District Court of Alaska. Responding to this information, Chief
             Judge Murguia directed a limited inquiry under Rule 5 of the Rules for Judicial-
             Conduct and Judicial-Disability (“JC&D”) Proceedings.

                    Upon determining that there was probable cause to believe that misconduct
             had occurred, on December 27, 2022, Chief Judge Murguia identified a
             misconduct complaint against Judge Kindred pursuant to 28 U.S.C. § 351(b) and
             JC&D Rule 5(a).1 The complaint stated that probable cause existed that Judge
             Kindred: (1) created a hostile work environment for one or more judicial
             employees by subjecting them to regular discussions about his personal life,
             including conversations of a sexual nature, and ostracized a judicial employee who
             raised concerns about this behavior; (2) engaged in unwanted physical sexual
             1
               See JC&D Rule 5(a) (“When a chief judge has information constituting reasonable grounds for
             inquiry into whether a covered judge has engaged in misconduct or has a disability, the chief judge
             may conduct an inquiry, as he or she deems appropriate, into the accuracy of the information even
             if no related complaint has been filed. A chief judge who finds probable cause to believe that
             misconduct has occurred . . . may identify a complaint and, by written order stating the reasons,
             begin review provided in Rule 11.”).

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             conduct with a former judicial employee and engaged in unwanted verbal sexual
             conduct with that employee both during and after her clerkship; and (3) told
             individuals with knowledge of his potential misconduct to remain silent. Judge
             Kindred was provided with an opportunity to respond to the complaint pursuant to
             JC&D Rule 11(f). 2

                    In his response, Judge Kindred offered his “unequivocal denials to these
             allegations,” stating that he was “in possession of communications that [he]
             believe[s] clearly establish that these allegations are entirely without merit.” Based
             on Judge Kindred’s response and the information gathered during the limited
             inquiry, Chief Judge Murguia determined that there were reasonably disputed
             issues that needed to be investigated by a Special Committee. 3

                    On February 3, 2023, Chief Judge Murguia appointed a Special Committee
             to investigate the allegations in the complaint and report its findings and
             recommendations to the Judicial Council. On March 30, 2023, Chief Judge
             Murguia added two judges to the Committee. 4 The Special Committee retained the
             services of an outside investigator and outside counsel.

                   The Special Committee submitted its 1,144-page report, inclusive of
             exhibits, to the Judicial Council on March 4, 2024. The Judicial Council met on
             April 5, 2024, and Judge Kindred presented oral argument before being questioned
             by the Council.




             2
               See JC&D Rule 11(f) (“Before appointing a special committee, the chief judge must invite the
             subject judge to respond to the complaint either orally or in writing.”).
             3
               See JC&D Rule 11(b) (“In determining what action to take under Rule 11(a), the chief judge may
             conduct a limited inquiry. . . . In conducting the inquiry, the chief judge must not determine any
             reasonably disputed issue. Any such determination must be left to a special committee appointed
             under Rule 11(f) and to the judicial council that considers the committee’s report.”); see also
             Commentary to JC&D Rule 11(b) (“An allegation of fact is ordinarily not ‘refuted’ simply because
             the subject judge denies it. . . . If it is the complainant’s word against the subject judge’s—in other
             words, there is simply no other significant evidence of what happened or of the complainant’s
             unreliability—then there must be a special-committee investigation.”).
             4
               The members of the Special Committee were Senior Circuit Judge M. Margaret McKeown,
             presiding officer; Chief Circuit Judge Mary H. Murguia; Circuit Judge Mark J. Bennett, District
             Judge Dana L. Christensen, District of Montana, and District Judge Cathy A. Bencivengo,
             Southern District of California.

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             II.    THE SPECIAL COMMITTEE INVESTIGATION AND REPORT

                   The Committee’s investigation included a review of documents obtained
             from various witnesses and Judge Kindred, including text messages exchanged
             between Judge Kindred and his law clerks. These communications included more
             than 700 pages of text messages.

                    The Committee also interviewed witnesses, including Judge Kindred,
             current and former court staff, as well as several attorneys and individuals with
             knowledge relevant to the Committee’s investigation. In all, 21 individuals were
             interviewed in person or by video. All interviews included at least two
             interviewers. Of the 21 individuals interviewed, 13 were current or former
             judiciary employees, including nearly all of Judge Kindred’s current (at the time)
             and former law clerks. 5

                    The Committee’s investigation revealed that Judge Kindred created a hostile
             chambers environment for his law clerks. Judge Kindred appeared to have no filter
             as to the topics he would discuss with the clerks. He discussed his past dating life,
             his romantic preferences, his sex life, the law clerks’ boyfriends and dating lives,
             his divorce, his interest in and communications with potential romantic or sexual
             partners, and his disparaging opinions of his colleagues. He also made disparaging
             comments about public and political figures. Some examples of these comments
             include: “I was a huge hit at dinner Partly due to how much shit I talked about
             Sarah palin”; “I told a republican [state] senator to eat a dick”; and “[a senator] is
             worried that I can kick [] his ass.”

                    He also had no hesitation in using language that was inappropriate in a
             professional setting, such as encouraging rating people based on “fuckability,”
             stating that he was not “hoe-ignorant,” or telling stories about “giving blow jobs in
             a hot tub.” In the few instances where clerks came to Judge Kindred to discuss his
             inappropriate behavior, they were belittled or ostracized, and, in one instance, a
             clerk left the clerkship.

                    Though many of these comments occurred in chambers, Judge Kindred also
             sent his law clerks numerous text messages over an extended period. These text
             messages document the nature of Judge Kindred’s inappropriate interactions with
             his law clerks as these comments lacked any connection to the clerks’ legitimate

             5
              Most witnesses, and particularly Judge Kindred’s law clerks, expressed significant reluctance or
             discomfort about being involved in the investigation, and several law clerks requested anonymity.
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             job duties and were often sexual in nature. For instance, Judge Kindred made
             inappropriate and often vulgar comments to his law clerks such as “I’m just gonna
             pay for [a law clerk’s boyfriend’s] next ass tattoo”; “You’re going to the big
             leagues. You might be better in the butt leagues”; “I’ve never been invited to an
             orgy by a stranger before”; “I got asked out by a waitress which actually made me
             feel way less insecure about being single again, which was nice”; and “So it looks
             like I might need a judicial tinder profile.”

                    One clerk reported that Judge Kindred told her that an Assistant United
             States Attorney (“AUSA”) had sent him nude photographs. She did not know
             what to do with that information. Judge Kindred was seeking advice from the
             clerk about what to do, and she told him “I am just a law clerk”; she reported being
             “devastated.” Judge Kindred’s texts with the clerk after this incident indicate that
             he may have felt insecure about sharing such information: “I don’t want you to
             think less of me”; “But you don’t think I suck? Do I give off a desperate for
             attention vibe?”

                    The Committee’s investigation revealed an unusually close relationship
             between Judge Kindred and one of his law clerks. The sheer volume of text
             messages reveals Judge Kindred’s regular demands on that law clerk’s personal
             time and attention. During an eleven-month period, Judge Kindred and the clerk
             exchanged 278 pages of text messages, only a small fraction of which had any
             relationship to her legitimate job duties. Some of these text messages were
             exchanged even while the clerk was out of the district for a week undergoing a
             medical procedure. During this time, Judge Kindred continued to send
             communications, such as telling the clerk that he missed her and “it feels like I
             haven’t seen you in months”; asking how things were going with the clerk’s
             boyfriend; and stating that “[w]ork is so much better when you are here.”
             Similarly, in July 2022, when Judge Kindred was traveling for a conference, he
             texted the law clerk incessantly, saying, “I’ve missed you this week which makes
             me worry about the emotion[al] wreck I’m going to be when you leave.”

                     Judge Kindred also emphasized that this law clerk was an important and
             special presence in his life by making statements such as, “We are ride or die for
             life”; “you’re legitimately one of my best friends and favorite human beings in the
             world”; “I will forever be your biggest cheerleader. You’re a better lawyer than
             me, and I want you to just crush it. You’re sneaky one of my best friends”; and
             “Nothing is real until I talk to you about it. But why am I so needy? What’s
             wrong with me?”

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                    This law clerk reported that on October 3, 2022, about a week after she left
             her clerkship and began her new job as an AUSA for the District of Alaska, Judge
             Kindred asked her if she would like to get drinks. The law clerk stated that
             halfway through the evening, Judge Kindred said that “there’s always been
             something between us, right?” The law clerk stated that she was intoxicated, and
             Judge Kindred was also likely intoxicated.

                    At the end of the night, Judge Kindred offered to drive the clerk home but
             said that he needed to stop by the courthouse and asked her to come upstairs to his
             chambers. He asked her to sit on the couch with him, but the clerk sat on the
             couch across from him. The law clerk reported that, at some point, Judge Kindred
             kissed her and grabbed her buttocks. She reported that she did not instigate the
             kiss. She indicated that it was brief, “just like smooch,” and almost immediately
             afterwards, Judge Kindred dropped her home.

                     Judge Kindred’s version of events, as told to the Committee in his written
             responses and in his interview, differs markedly from the law clerk’s: He stated
             that it was the law clerk who asked to meet for drinks; that she told him she was in
             love with him; that the law clerk said she wanted to come up to chambers; that she
             initiated two kisses in chambers; that he never sat on a couch; and that she
             propositioned him on the way home. However, these denials were belied by
             documentary evidence and, as revealed later during Judge Kindred’s testimony to
             the Judicial Council, by Judge Kindred’s own admissions.

                    The next time Judge Kindred was alone with the law clerk was on October 7,
             2022, when Judge Kindred was moving out of his home, and the clerk still in his
             employ decided to throw him a pizza party. The law clerk reported that she did not
             speak one-on-one with Judge Kindred at the pizza party. However, Judge Kindred
             kept asking the law clerk to sit with him on the couch. She kept saying no but she
             thought, “Are you hitting on me openly in front of the clerks now?” The law clerk
             eventually left the party. She stated that Judge Kindred then texted her, and she
             told him that they needed to talk in person, so she asked Judge Kindred to pick her
             up. Initially, they were talking in his truck outside her house, but it was cold, so
             Judge Kindred suggested they go to his temporary apartment.6

                   The law clerk reported that, immediately after arriving at the apartment,
             Judge Kindred went to one of the bedrooms. Judge Kindred kept shouting to the

             6
              This apartment was referred to in testimony as an “Airbnb,” but it was in fact an apartment
             belonging to an acquaintance of Judge Kindred.
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             clerk to “come to the bedroom, come to the bedroom” as he was lying on the bed
             and asked the clerk to lie down with him. Initially, she sat on the corner of the bed
             but at Judge Kindred’s insistence, she lay down. At this point, the law clerk
             explained that:

                          [H]e started putting his hands on me. And so I remember
                          the first time he like grabbed my boob, and I like grabbed
                          his like forearm, and I remember thinking like he felt
                          really strong and I tried to like pull his arm off of me. . . .
                          I just remember thinking like there’s nothing I can do
                          about this, like this is about to happen. . . . I remember him
                          saying something about like “Finally,” like – because I
                          remember just feeling like, yeah, finally, like you win like
                          the game. Like I always felt like this – like this thing that
                          he couldn’t touch and finally he felt like he could
                          touch. . . . He took my pants off. I’m pretty sure I was still
                          wearing a shirt. . . . And then he performed oral sex on me.

                    As with the chambers incident, Judge Kindred’s report of the Airbnb
             incident to the Committee differed markedly from the law clerk’s recollection.
             Judge Kindred reported that when they got to the Airbnb, he sat on a love seat and
             the law clerk sat on a couch across from him, and they had a two-hour-long
             conversation about their relationship and the law clerk’s future employment
             opportunities. In particular, Judge Kindred stated that there were no physical or
             sexual interactions with the law clerk at any point during the night of October 7,
             2022, and they did not lie down on the bed at any point.

                    Judge Kindred and the law clerk continued to text each other, and ten days
             after the Airbnb incident, on October 17, 2022, they exchanged the following text
             messages:

                    Judge Kindred:      You’ve been a whole ass adult
                                        Emphasis on ass
                                        ...
                                        Didn’t imagine your exit interview would involve that
                                        much oral
                    Law Clerk:          *argument
                                        Yes it was quite compelling
                    Judge Kindred:      I hope so
                    Law Clerk:          I feel like I was pretty up front about that
                                                                                        Exhibit D-1
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                                   The neighbors know, anyhow
                    Judge Kindred: Well, I know I enjoyed it
                                   Got to see you from a pretty amazing perspective

                    When questioned by the Committee about the text message regarding the
             exit interview involving “oral” and how Judge Kindred saw the former clerk from
             a “pretty amazing perspective,” Judge Kindred could not provide an explanation
             for those text messages. However, he emphasized: “I can’t reconcile them, but I’m
             telling you, we -- all we did in that apartment that night was have a conversation. I
             don’t -- I don’t remember the context of this, but I’ve not seen [this law clerk]
             naked, so that doesn’t make any sense to me. But again, I don’t -- I don’t know.”

                                                *      *     *

                    Based on the results of its investigation, the Committee determined that the
             law clerks and other witnesses were credible and that Judge Kindred had been
             dishonest with the Committee. The Committee found that Judge Kindred
             committed misconduct by: (1) subjecting his chambers staff to a hostile work
             environment, including subjecting them to unwanted, offensive, or abusive sexual
             conduct and harassment, and treating them in a demonstrably egregious and hostile
             manner; (2) sexually harassing a law clerk during her time as his law clerk and in
             the weeks after she departed her clerkship by continuing a sexualized relationship;
             (3) engaging in inappropriate sexual and verbal encounters with a law clerk; and
             (4) being dishonest with the Committee through his written responses to the
             allegations in this complaint and during his interview.

                    The most egregious examples of Judge Kindred’s dishonesty focused on the
             two sexual encounters in October 2022 between him and the law clerk, in
             particular when he stated that: (a) the law clerk kissed him twice in his chambers
             on the night of October 3, 2022, and (b) no physical interaction occurred at the
             Airbnb on the night of October 7, 2022. The Committee determined that both
             statements were patently false, each being rebutted by contemporaneous evidence,
             particularly text messages exchanged between the law clerk and Judge Kindred
             following both encounters.

                    To the extent Judge Kindred is alleged to have retaliated against individuals
             for disclosing misconduct, the Committee found that his actions, though ill-advised
             if they occurred, did not rise to the level of misconduct.


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                     The Committee recommended that the Judicial Council request Judge
             Kindred’s voluntary retirement from the bench and that he issue a private apology
             to all of his law clerks. If Judge Kindred declined to do so, the Committee
             recommended that Judge Kindred:

                    (1)     be publicly censured for his misconduct;
                    (2)     publicly apologize for his conduct;
                    (3)     privately apologize to all of his law clerks;
                    (4)     receive evaluation, training, and counseling on sexual harassment,
                            employee relations, and chambers management, including any follow-
                            on counseling if recommended by any of the professionals involved in
                            his counseling;
                    (5)     receive evaluation and counseling on alcohol use;
                    (6)     not be assigned new cases for a period of six months in order to provide
                            him with a reasonable amount of time to complete the evaluation,
                            training, and counseling;
                    (7)     hire a judicial or administrative assistant so that he is not alone with his
                            law clerks and so that he can establish appropriate administrative and
                            management protocols in chambers;
                    (8)     be assigned a district judge outside of Alaska to counsel and advise
                            Judge Kindred with respect to docket and chambers organization and
                            management for a period of six months; and
                    (9)     decline the position of Chief Judge of the District of Alaska at such
                            time as he may be eligible for the position.

                   The Committee further recommended that the Judicial Council approve and
             oversee the apologies and the required evaluation, training, and counseling.

                   The unanimous Special Committee report and recommendations were sent to
             Judge Kindred on March 1, 2024, and to the Council on March 4, 2024.

             III.    JUDGE KINDRED’S WRITTEN RESPONSE TO THE SPECIAL
                     COMMITTEE REPORT

                    Pursuant to JC&D Rule 20(a), Judge Kindred had an opportunity to submit a
             written response to the Special Committee Report. In his nine-page written
             response, Judge Kindred acknowledged, as he had previously, that he “failed to
             exercise appropriate boundaries and crossed lines I should not have crossed,
             particularly as it relates to the overarching trend of me treating employees as
                                                                                         Exhibit D-1
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             friends and allowing my personal and professional struggles to become topics of
             conversation. Rather, I would hope that offering a more detailed description of the
             time period will establish that those relationships did not develop due to any
             sinister or illicit intent.”

                   Judge Kindred then provided detailed information about the circumstances
             under which he came to the bench, mostly related to the fact that he only had a few
             weeks to observe his colleagues before the courthouse began shutting down due to
             the pandemic. He explained that for the first year or so of his time as a federal
             judge, the law clerk at the center of the allegations was “often the only person I
             would interact with face to face.” Judge Kindred admitted that he was
             overwhelmed with his job and would often discuss this with the law clerk.

                     He further elaborated on how he and the law clerk developed a close,
             personal relationship, which mostly involved the law clerk seeking Judge
             Kindred’s advice and guidance. He also stated that as the Alaska District Court
             began to open up again following the pandemic, “my chambers was frequented by
             staff, almost all of whom were voicing complaints of some fashion,” and he was
             “quite certain that I leaned on [the law clerk] during that time for counsel and
             support.” Judge Kindred explained that he provided this information “not to
             excuse myself, as it was always my responsibility to establish proper boundaries,
             which I clearly failed to do. However, I do think an honest description of this
             period of time is helpful to provide some context that I felt was lacking in the
             Committee Report and contradict the false narrative that conversations about
             anyone’s personal life was initiated unilaterally be myself. I am not suggesting
             that this excuses how close my friendship was with [the law clerk], but it was not
             something that was born out of something sinister. Nor do I believe that the clerks
             who have worked during that period of time would have described it as a hostile
             work environment.” Judge Kindred included some thank you cards and greeting
             cards, ostensibly from former law clerks and externs,7 in his written response to
             counter the “contention that the people who worked for me were unhappy.”

                    As to the findings related to his inappropriate relationship and sexual
             interactions with the law clerk, specifically the two sexual encounters in October
             2022, Judge Kindred stated that “I was not the aggressor. I was not overbearing. I
             was honest with [the law clerk] as to the difficult place I was in. I wish that I

             7
               Judge Kindred did not indicate who these cards were from. Some cards were signed by
             individuals who do not appear on Judge Kindred’s list of law clerks and externs that was provided
             by the District of Alaska.
                                                                                                Exhibit D-1
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             would have been stronger and that I would have handled myself in a more
             respectable manner. This brief romantic interlude, while it should have been
             avoided, was not at all as [the law clerk] described.” Judge Kindred then included
             a few text messages from the law clerk which he highlighted to “undermine the
             natural implications born from the allegation: that I was the aggressor.”8 Judge
             Kindred stated that the law clerk had made false allegations against others in the
             past, implying he was a victim of that same circumstance.

             IV.    JUDGE KINDRED’S ORAL ARGUMENT TO THE COUNCIL

                   On April 5, 2024, the Judicial Council met, and, under oath, Judge Kindred
             presented oral argument 9 pursuant to JC&D Rule 20(a).

                    Judge Kindred began his oral argument by stating that “I think my great sin
             here was the fact that during this period of time I treated my law clerks as friends
             rather than employees” and offering context that Judge Kindred felt was important.
             Most of this context involved an explanation of what Judge Kindred believed were
             the difficult circumstances under which he came to the bench, including the
             pandemic.

                   Judge Kindred rejected “the narrative, I think, in the Committee’s report was
             somehow that -- that I was interjecting myself in the law clerk’s personal life, and
             while I should have maintained a barrier it wasn’t -- I wasn’t being proactive.”
             Judge Kindred provided several stories about the law clerk being upset by various
             events in her personal life and Judge Kindred offering his assistance with these
             events, and he stated that “she was somebody that I would often go to for counsel
             in a way that I’m sure is not typical.”

                   As it relates to the specific allegations about sexual misconduct, Judge
             Kindred made the following statement during his oral argument:

                            I guess, there were the other allegations that were made by
                            [the law clerk] that I threatened her -- and this was after

             8
               The Special Committee was already aware of these text messages as they were included in the
             Special Committee Report.
             9
                Judge Kindred’s oral argument and subsequent questioning by the Judicial Council were
             transcribed by an official court reporter, and all quotes taken from the Judicial Council meeting
             are from that transcript as originally provided. Thus, any irregularities and errors in grammar,
             punctuation, and spelling are reproduced from the transcript. Any emphases are from the
             undersigned judges of this order.
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                            her employment with me ended, that I threatened her and
                            that there was some unwanted sexual contact and then, I
                            guess, ultimately that I conspired with the US Attorney’s
                            Office . . . [a]nd, now, none of those allegations are true
                            . . . I think it’s difficult to read those text messages and
                            being able to reconcile them with the idea that I somehow
                            was aggressive and threatened her. . . it was not at all how
                            it was described by [the law clerk] . . .

             The Judicial Council then had an opportunity to ask Judge Kindred questions.

                    At various points during that questioning, Judge Kindred admitted to certain
             conduct he had previously denied. He made these admissions only when
             specifically, and at times repeatedly, pressed with record evidence. Significantly,
             Judge Kindred admitted that he had lied to the Special Committee and that he had a
             sexual encounter with the law clerk at the Airbnb, despite his previous denials. As
             to other details, he maintained that he could not recall, despite the Special
             Committee’s extensive evidence and his clear memories of other events during that
             same period.

                    Again, Judge Kindred admitted during the Council’s questioning that his
             statements to the Committee—specifically his statement that no sexual interaction
             occurred at the Airbnb on the night of October 7, 2022—were not truthful and that
             he lied to the Committee. He went on to explain that he

                            felt very -- very uncomfortable and I guess naively I --
                            given the context of the text messages that were exchanged
                            from [the law clerk] to me before and after this night, I
                            didn’t think there was any scenario by which you could
                            reconcile that with her allegations that something
                            unwanted happened, and that wasn’t right but I -- I didn’t
                            know how to have this conversation without talking about
                            the reasons we didn’t have sex and, admittedly, I -- I just
                            couldn't -- I just didn’t do it. 10


             10
               Judge Kindred posited that he lied to the Committee because he did not want to talk about the
             reasons why he and the law clerk did not have sex; however, the reasons he provided to the Judicial
             Council for not having sex with the law clerk were the same reasons he provided to the Special
             Committee during his October 2023 interview.
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             Judge Kindred admitted that he lied to the Special Committee, and despite being
             presented with clear evidence that he had engaged in sexual acts, deliberately
             chose to mislead the Committee.

                   Judge Kindred admitted that there was nothing that prevented him from
             coming to the Committee after his October 2023 interview with the Committee to
             correct his dishonesty. Judge Kindred acknowledged that he also could have
             corrected the record in his written response to the Committee report but failed to
             do so. Judge Kindred admitted that he had yet another opportunity to correct the
             record during his oral argument before he was subject to the Judicial Council’s
             questions about specific incidents, but he again failed to do so.

             V.      LEGAL STANDARDS

                   A federal judge’s conduct is sanctionable under the Judicial Conduct and
             Disability Act, 28 U.S.C. §§ 351-364, and the JC&D Rules 11 if the conduct is
             “prejudicial to the effective and expeditious administration of the business of the
             courts.” 28 U.S.C. § 351(a); JC&D Rule 4. JC&D Rule 4(a)(2) provides that
             cognizable misconduct includes certain specific behavior, such as “abusive or
             harassing behavior.”

                    The Commentary to JC&D Rule 4 states that “[t]he Code of Conduct for
             United States Judges sets forth behavioral guidelines for judges” and that the
             Canons of the Code of Conduct for United States Judges (the “Canons”) are
             “instructive.” 12 The relevant Canons at issue are as follows:

                  • Canon 1 states that “[a] judge should maintain and enforce high standards of
                    conduct and should personally observe those standards, so that the integrity
                    and independence of the judiciary may be preserved.” The Commentary to
                    Canon 1 states that “violation of this Code diminishes public confidence in
                    the judiciary and injures our system of government under law.”

                  • Canon 2A states that “a judge should respect and comply with the law and
                    should act at all times in a manner that promotes public confidence in the

             11
                In 2008, the Judicial Conference of the United States promulgated the JC&D Rules to “guid[e]
             the various officers and bodies who must exercise responsibility under the Act.” Commentary on
             JC&D Rule 1.
             12
                A violation of the canons does not automatically establish the need for a sanction or discipline
             under 28 U.S.C. §§ 351-64. See In re Charge of Judicial Misconduct, 62 F.3d 320, 322 (9th Cir.
             1995); see also Commentary to JC&D Rule 4.
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                    integrity and impartiality of the judiciary.” The Commentary to Canon 2A
                    expounds on this further:

                            An appearance of impropriety occurs when reasonable
                            minds, with knowledge of all the relevant circumstances
                            disclosed by a reasonable inquiry, would conclude that the
                            judge’s honesty, integrity, impartiality, temperament, or
                            fitness to serve as a judge is impaired. Public confidence
                            in the judiciary is eroded by irresponsible or improper
                            conduct by judges, including harassment and other
                            inappropriate workplace behavior. A judge must avoid all
                            impropriety and appearance of impropriety. This
                            prohibition applies to both professional and personal
                            conduct. A judge must expect to be the subject of constant
                            public scrutiny and accept freely and willingly restrictions
                            that might be viewed as burdensome by the ordinary
                            citizen.

                • Canon 3 states that a “judge should perform [the duties of judicial office]
                  with respect for others, and should not engage in behavior that is harassing,
                  abusive, prejudiced, or biased.” Canon 3(A)(3) explains that a judge
                  “should be patient, dignified, respectful, and courteous to litigants, jurors,
                  witnesses, lawyers, and others with whom the judge deals in an official
                  capacity.” The Commentary to Canon 3 notes that:

                            [t]he duty under Canon 2 to act in a manner that promotes
                            public confidence in the integrity and impartiality of the
                            judiciary applies to all the judge’s activities, including the
                            discharge of the judge’s adjudicative and administrative
                            responsibilities. The duty to be respectful includes the
                            responsibility to avoid comment or behavior that could
                            reasonably be interpreted as harassment, prejudice or bias.

                    The Commentary to Canon 3 further states that “[u]nder this Canon,
                    harassment encompasses a range of conduct having no legitimate role in the
                    workplace, including harassment that constitutes discrimination on
                    impermissible grounds and other abusive, oppressive, or inappropriate
                    conduct directed at judicial employees or others,” citing to JC&D Rule 4.


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                • Canon 3B(6) states that a judge should take appropriate action upon receipt
                  of reliable information indicating the likelihood that a judge’s conduct
                  contravened this Code. The Commentary to Canon 3B(6) further provides
                  that “a judge should be candid and honest with disciplinary authorities.”

                    When a district judge is the subject of a special committee report, the actions
             a judicial council can order that are appropriate to assure the effective and
             expeditious administration of the business of the courts within the circuit include,
             but are not limited to:

                (1) ordering that, on a temporary basis for a time certain, no further cases be
                   assigned to the judge whose conduct is the subject of a complaint;

                (2) censuring or reprimanding such judge by means of private communication;

                (3) censuring or reprimanding such judge by means of public announcement;

                (4) certifying the disability of the judge pursuant to the procedures and
                   standards provided under 28 U.S.C. § 372(b); and

                (5) requesting that the judge voluntarily retire.

             See 28 U.S.C. § 354(a)(2); JC&D Rule 20(b)(1)(D).

                   A judicial council must refer a complaint to the Judicial Conference if the
             council determines that a circuit judge or district judge may have engaged in
             conduct that might constitute grounds for impeachment. See 28 U.S.C. §
             354(b)(2)(A); JC&D Rule 20(b)(2)(A).

             VI.    DISPOSITION AND FINDINGS OF MISCONDUCT

                    Having considered the Special Committee’s report, we unanimously adopt
             the Committee’s factual findings. We supplement the Committee’s factual
             findings with developments that occurred after the report was submitted, namely,
             Judge Kindred’s written response to the Committee report, his opening statement
             to the Council, his testimony during the Council’s questioning, and his admission
             that he lied to the Special Committee during his questioning by the Judicial
             Council.

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                    At the outset, we note that Judge Kindred repeatedly stated that his
             relationships with his law clerks formed organically, and he had no “sinister
             intent.” Judge Kindred fails to appreciate that the JC&D Rules are not framed in
             terms of intent. The touchstone is what is inappropriate to a reasonable person on
             the receiving end of the conduct. Further, a judge has special obligations to
             observe ethical constraints regardless of intent.

                    We also note that Judge Kindred has spent considerable time providing
             “context” to his behavior, which generally consists of portraying himself as the
             victim of difficult circumstances. He has also sought to blame the law clerk and
             portray her as the aggressor or as someone who regularly brings false allegations
             against others. In his responses, Judge Kindred often hedged, cast blame on others,
             claimed not to remember significant details of the events at issue in this
             investigation (despite written documentation in his possession detailing many of
             the events), and otherwise provided vague responses to questions.

                    For example, Judge Kindred admitted that he failed to establish proper
             boundaries with his law clerks, but his admission came with many irrelevant and
             unpersuasive qualifications. There is no doubt that Judge Kindred created an
             atmosphere in which he was inappropriately inserting himself into the personal
             lives of his law clerks, engaging in a sexualized relationship with one of his law
             clerks, and having sexually suggestive and explicit conversations with his law
             clerks.

                    Judge Kindred’s failure to establish appropriate boundaries extended beyond
             his chambers as well. As stated in the Special Committee report, Judge Kindred
             received nude photographs from another, more senior AUSA who practiced before
             him, and then Judge Kindred discussed those photographs with his law clerk. He
             received sexually suggestive text messages from a local attorney who regularly
             appeared before him, which he also discussed with his law clerks. And he engaged
             in a sexual relationship with a former law clerk who was working as an AUSA in
             the District of Alaska. He undertook all these actions without any regard for the
             impact of and the ethical issues raised by his conduct. He remains strikingly
             unaware that he was the source of all these issues.

                    Beyond accepting responsibility for what he describes as his “original sin”
             of treating his law clerks as friends, he does not squarely acknowledge that his
             interactions with the law clerks had no legitimate place in any workplace, let alone
             a federal judge’s chambers. Such lack of awareness is particularly troubling given
             his admission that he had likely received training on workplace harassment at
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             previous jobs. The Council has no confidence that he will ever conduct himself in
             a way befitting his office or in a way that promotes public confidence in the
             judiciary.

                    A.      Judge Kindred engaged in misconduct by creating a hostile work
                            environment for his law clerks.

                    JC&D Rule 4(a)(2)(C) states that “creating a hostile work environment for
             judicial employees” is cognizable misconduct. The Code of Conduct provides that
             “[p]ublic confidence in the judiciary is eroded by irresponsible or improper
             conduct by judges, including harassment and other inappropriate workplace
             behavior.” Commentary to Canon 2A. Canon 3B(4) further provides that “[a]
             judge should practice civility, by being patient, dignified, respectful, and
             courteous, in dealings with court personnel, including chambers staff. A judge
             should not engage in any form of harassment of court personnel.” The
             Commentary to Canon 3B(4) explains that a judge should not engage in or tolerate
             “workplace conduct that is reasonably interpreted as harassment [or] abusive
             behavior,” and “harassment encompasses a range of conduct having no legitimate
             role in the workplace, including . . . abusive, oppressive, or inappropriate conduct
             directed at judicial employees or others.”

                    We conclude that Judge Kindred committed misconduct by creating a hostile
             work environment for his law clerks. That hostile work environment included
             “unwanted, offensive, and abusive sexual conduct, including sexual harassment,”
             and treatment of “judicial employees . . . in a demonstrably egregious and hostile
             manner” in violation of JC&D Rule 4(a)(2).

                    In assessing the chambers environment, we look to the testimony and
             firsthand observations of Judge Kindred’s law clerks. The clerks’ observations are
             also supported by text messages. Crude, sexual, personal, and vulgar messages
             appear throughout the 628 pages of text messages that Judge Kindred exchanged in
             a chambers group chat and individually with the law clerk at the center of this
             investigation. No reasonable person would characterize these text messages as
             dignified, respectful, and courteous dealings with court personnel. In these
             messages with his clerks, Judge Kindred ridiculed his judicial colleagues, divulged
             personal details of his marital life, and made inappropriate comments about sex,
             drinking, and drugs.13 The extraordinary volume of inappropriate communications
             13
               There are many examples of these highly inappropriate text messages. To name a few, Judge
             Kindred told his law clerks, “Who gives a fuck about ethics, we need to get you paid,” joked about

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             prove that conversations of this nature were a defining characteristic of Judge
             Kindred’s relationships with his law clerks and the undignified atmosphere he
             fostered in chambers.

                    Though the law clerks appeared at times to initiate or reciprocate Judge
             Kindred’s communications about personal matters, we agree with the Special
             Committee that, because of the inherent power imbalance in chambers, this was
             driven in some part by the law clerks wanting to preserve good relations with the
             judge. This conclusion is supported by their text messages with each other, which
             indicated that the clerks often humored Judge Kindred when he overstepped
             boundaries with them. They liked the judge personally and viewed him as a
             friendly figure, but they also wanted follow-on references, especially if they sought
             to remain in Alaska, where the legal community is very small. The judge’s casual
             approach to the chambers environment exacerbated the power imbalance, a fact
             Judge Kindred still does not seem to acknowledge or understand. On reflection,
             and when interviewed by the Special Committee, several law clerks voiced their
             concern with the judge’s behavior.

                    Our conclusion is further buttressed by Judge Kindred’s acknowledgment
             that he inappropriately relied on his law clerks for personal support. He conceded
             that he relied on his law clerks in a way that he described as “uncontrolled,”
             because he was in personal crisis, including going through a divorce. The law
             clerks recalled that during this time, the “work component started taking a back
             seat,” that Judge Kindred would discuss his romantic or sexual interest in a local
             attorney, and that Judge Kindred was drinking frequently and to excess, including
             in his chambers at the end of the day. We recognize, of course, that a judge has
             broad latitude in managing his or her chambers and fostering meaningful and
             friendly relationships with chambers staff. Such discretion, however, assumes that
             the judge will establish a professional chambers environment with appropriate
             boundaries. A judge can establish meaningful relationships and encourage a
             productive work environment without subjecting staff to crude or sexual jokes and
             comments. We have no hesitation in concluding that Judge Kindred failed to
             conduct himself within those professional and appropriate limits.

                    Judge Kindred’s conduct demonstrates that, for the most part, he was
             entirely unaware of his problematic behavior, which resulted in at least three law
             clerks suffering in silence at various points in time since Judge Kindred took the

             “punching multiple Supreme Court justices,” and said he’d bring Patrón, heroin, and “whip-its” to
             a chambers dinner party.
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             bench four years ago. The Council is not confident that Judge Kindred fully
             understands the gravity of his conduct even at this juncture. When asked if he
             understands that a chambers environment can be congenial without having the type
             of environment that existed in his chambers, Judge Kindred stated that “given how
             happy my term clerk seems now I think I’ve managed to at least come -- do that. I
             think -- I think -- again, if we go back to sort of my original sins here, I don’t know
             if it’s [because of] my lack of confidence or the -- or the fact that there was a
             pandemic.” When asked if he has written chambers protocol for when a clerk,
             particularly a female clerk, tells him she is uncomfortable with the atmosphere in
             chambers, Judge Kindred stated that he did not know.

                   Looking at the totality of the chambers environment over a span of
             approximately two and a half years, we conclude that Judge Kindred’s misconduct
             was pervasive and abusive, constituted sexual harassment, and fostered a hostile
             work environment that took a personal and professional toll on multiple clerks.
             Judge Kindred’s conduct was not civil, dignified, or respectful—attributes that we
             expect from a federal judge—and his interactions with his law clerks were abusive,
             oppressive, and inappropriate. For these reasons, we conclude that Judge Kindred
             engaged in misconduct by creating a hostile work environment for his law clerks,
             coupled with “unwanted, offensive, [and] abusive conduct,” and treatment of the
             law clerks “in a demonstrably egregious and hostile manner,” to the detriment of
             the business of the courts.

                    B.      Judge Kindred engaged in misconduct by having an
                            inappropriately sexualized relationship with one of his law clerks
                            during her clerkship and after she became an Assistant United
                            States Attorney.

                      JC&D Rule 4(a)(2)(A) provides that “engaging in unwanted, offensive, or
             abusive sexual conduct, including sexual harassment or assault” is cognizable
             misconduct. JC&D Rule 4(a)(2)(B) provides that “treating . . . judicial employees
             . . . in a demonstrably egregious and hostile manner” is cognizable misconduct.
             Canon 2 provides that “[a] judge should avoid impropriety and the appearance of
             impropriety in all activities” and “should act at all times in a manner that promotes
             public confidence in the integrity and impartiality of the judiciary.” The
             Commentary to Canon 2A states that “[a]n appearance of impropriety occurs when
             reasonable minds, with knowledge of all the relevant circumstances . . . would
             conclude that the judge’s honesty, integrity, impartiality, temperament, or fitness to
             serve as a judge is impaired.” The Commentary to Canon 2A explicitly states that
             the prohibition on impropriety or the appearance thereof “applies to both
                                                                                     Exhibit D-1
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             professional and personal conduct” and that “[a] judge must expect to be the
             subject of constant public scrutiny and accept freely and willingly restrictions that
             might be viewed as burdensome by the ordinary citizen.”

                    We conclude that Judge Kindred committed misconduct by engaging in
             sexual flirtation and fostering an inappropriately sexualized relationship with a law
             clerk during her clerkship. He also committed misconduct by continuing that
             sexualized relationship and engaging in two sexual encounters in the weeks
             following her clerkship at a time when the law clerk was employed in the office of
             the United States Attorney in Anchorage, conduct that also created an appearance
             of impropriety.

                    Regularly subjecting the law clerk to topics of a sexual nature and thus
             normalizing discussions of a sexual nature throughout the course of her clerkship is
             unquestionably inappropriate. It is no excuse that, in Judge Kindred’s view, the
             relationship was consensual, and that his first few years as a federal judge were
             particularly difficult for him. During the clerkship, there was unquestionably a
             special bond between this law clerk and Judge Kindred. But it was a bond that
             crossed the line from professional to personal in an inappropriate way that Judge
             Kindred should have stopped.

                    Not only did other witnesses confirm the inappropriate relationship and their
             concerns surrounding it, but voluminous text messages over an extended period
             also evince a relationship that blurred any customary judge-law clerk boundaries.
             While not all of Judge Kindred and the law clerk’s interactions were overtly
             sexual, there were regular references to topics of a sexual nature, some sexually
             suggestive and others sexually explicit, that have no place in an acceptable judge-
             law clerk relationship. 14

                    We are supported in this conclusion by Judge Kindred’s own
             acknowledgment that he crossed the line with this law clerk in particular. Judge
             Kindred offered explanations as to why he developed what he describes as a
             friendship with this law clerk, much of which involved the struggles he was facing
             as a new judge. Although Judge Kindred stated that he could not recall making

             14
                Again, there are many examples of these disturbing text messages, which escalated in both
             frequency and degree over time. Examples ranged from Judge Kindred telling the law clerk,
             “[y]ou’re like a fucking Disney princess . . . [y]ou are special,” to “[y]ou looked amazing as
             always,” to “[t]hose fucking blue pants you’d wear. Always killed me.” Other messages are much
             more graphic.
                                                                                              Exhibit D-1
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             comments about the law clerk’s physical appearance to her, he in fact did so on
             multiple occasions both during and after her clerkship.

                    Judge Kindred’s inappropriate behavior toward the law clerk did not stop
             when she left his chambers. In fact, the behavior escalated, and within a week of
             her departure from her clerkship, Judge Kindred sought to increase their
             intimacy. 15 Because of the close relationship and trust that was established during
             the clerkship, Judge Kindred’s physical interactions with the law clerk closely
             following the conclusion of her clerkship were a continuation and escalation of this
             relationship and constituted sexual harassment.

                    Both sexual encounters occurred in October 2022, the first in his judicial
             chambers and the second at the Airbnb that served as his temporary residence. On
             both occasions Judge Kindred was engaging in a sexual relationship with an
             employee of the office that oversees federal prosecutions in the District of Alaska,
             which creates an appearance of impropriety and would naturally diminish public
             confidence in Judge Kindred’s impartiality. 16 This conflict of interest should have
             been apparent to Judge Kindred, and he should have recognized his power as a
             judge and immediately put an end to any ongoing contacts beyond professional
             interactions or otherwise taken proper steps to disclose the relationship.17 He did
             neither.

                   The court and the public have a right to expect high standards of individuals
             holding the privileged position of a federal judge. We conclude that Judge
             Kindred’s integrity and temperament to serve as a judge are impaired because of
             his conduct.

                    As to the first sexual interaction between Judge Kindred and the law clerk, it
             is undisputed that Judge Kindred brought the law clerk to his chambers on October

             15
                The chambers kiss occurred eleven days after the law clerk left her clerkship.
             16
                Personal or intimate relationships between judges and AUSAs are not per se improper. The law
             clerk’s status as an AUSA alone would not make the relationship improper. Rather, it was Judge
             Kindred’s decision to escalate the inappropriate relationship with the law clerk and his failure to
             take appropriate action to avoid an appearance of impropriety that is problematic.
             17
                As further evidence of his bad judgment, the Special Committee’s investigation revealed other
             instances of Judge Kindred failing to disclose potential conflicts of interest. For example, Judge
             Kindred received nude photographs from a separate, more senior AUSA, with whom he had a
             flirtatious rapport. In addition, he and a different local attorney exchanged flirtatious text
             messages. He took no steps to report either of these inappropriate interactions and relationships
             that he had with these two attorneys who often appeared before him.
                                                                                                  Exhibit D-1
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             3, 2022, where they kissed. To the Committee, Judge Kindred stated that there
             were two kisses and denied that he initiated either of the kisses, despite clear text
             messages suggesting that he did. And initially, at the Judicial Council meeting,
             Judge Kindred continued to state that he did not initiate either of the two kisses.
             However, upon further questioning, including questions about the law clerk’s text
             which asked him, referring to the kissing, “how long were you waiting to do that?”
             Judge Kindred eventually admitted to the Council that “we kissed each other” and
             “the first kiss was mutual.” He also admitted that he grabbed the law clerk’s
             buttocks that night, which he failed to admit to the Committee despite being faced
             with a text message he sent her later that night stating, “I didn’t think your ass was
             going to feel as good as it looks.”

                     Bringing a federal prosecutor to chambers late in the evening after both the
             judge and the prosecutor had been drinking shows highly questionable judgment in
             itself. Even if we give complete credence to Judge Kindred’s version of events, his
             actions unquestionably created an appearance of impropriety, because by then the
             law clerk was employed as a prosecutor in the office that regularly appears before
             Judge Kindred. It is reasonable to be concerned that Judge Kindred’s integrity and
             impartiality would be compromised by any sort of romantic interaction with the
             law clerk because of her position as an AUSA, but most especially because that
             interaction took place in the judge’s chambers and Judge Kindred took no steps to
             disclose the relationship. It is undisputed that at this juncture, both the law clerk
             and Judge Kindred voiced attraction to each other and discussed whether they
             should have a further relationship. Because of this appearance of impropriety as
             well as the recency of the clerkship, the October 3, 2022, kiss incident in chambers
             constitutes sexual misconduct.

                    The second sexual encounter occurred at an Airbnb that Judge Kindred was
             staying in temporarily. Though Judge Kindred previously denied that any sexual
             conduct took place at the Airbnb on October 7, 2022, after exacting questions from
             the Council, he eventually admitted to the Judicial Council that a sexual interaction
             occurred there. To the Council, Judge Kindred emphasized that he was unable to
             have sexual intercourse with the law clerk but admitted that he did perform oral
             sex on her for “five, ten minutes,” which indicates that the sexual intimacy was not
             fleeting. Judge Kindred also stated that the law clerk never said “no” to him
             during the interaction.

                   Judge Kindred and the law clerk disagree about whether the second of these
             encounters was consensual, and the record is inconclusive on that point. Our
             determination that Judge Kindred committed misconduct does not turn on the
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             consensual nature of the Airbnb incident or whether sexual intercourse was
             feasible. Engaging in sexual encounters with an AUSA and former law clerk,
             within mere weeks of her leaving her clerkship, all the while failing to disclose the
             sexual relationship to anyone, either at the time or later, was irresponsible and
             improper. The Council need not make a finding on whether the Airbnb incident
             was consensual to conclude that Judge Kindred committed misconduct.

                    Judge Kindred fomented a sexualized relationship with the law clerk
             throughout her clerkship, continued to have a sexualized relationship with her after
             she became an AUSA, ultimately engaged in two sexual interactions with her, and
             lied about it repeatedly over the course of these proceedings. Though the Special
             Committee did not find evidence of a repeated pattern or history of physical or
             sexual encounters with other court staff, Judge Kindred’s two physical interactions
             with the law clerk are severe enough to cause the public to question his honesty,
             integrity, impartiality, temperament, and fitness to serve as a judge. This behavior
             contravenes the existing standards of behavior for judges and raises serious
             concerns about the public’s confidence in the integrity of the judiciary which, in
             turn, implicates the effective and expeditious administration of the business of the
             courts.

                    C.      Judge Kindred engaged in misconduct by making false and
                            misleading statements to the Chief Judge, the Special Committee,
                            and the Judicial Council throughout these proceedings.

                    Public confidence in the courts is imperative to the judiciary as an institution
             because “deference to the judgments and rulings of courts depend on public
             confidence in the integrity and independence of judges.” Commentary to Canon 1.
             Canon 2A emphasizes that “[a] judge . . . should act at all times in a manner that
             promotes public confidence in the integrity and impartiality of the judiciary.”
             The Commentary to Canon 2 further explains that “[p]ublic confidence in the
             judiciary is eroded by irresponsible or improper conduct by judges.” As it relates
             to misconduct, Canon 3B(6) states that “[p]ublic confidence in the integrity and
             impartiality of the judiciary is promoted when judges take appropriate action based
             on reliable information of likely misconduct,” and “a judge should be candid and
             honest with disciplinary authorities.” The overarching definition of misconduct
             under the JC&D rules is conduct “prejudicial to the expeditious administration of
             the business of the courts,” which includes the courts’ ability to investigate and
             address possible misconduct. JC&D Rule 1(a).


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                    Throughout this investigation, Judge Kindred made numerous false
             statements to the Special Committee in a deliberate attempt to mislead it. He
             violated his obligation to be candid and honest with disciplinary authorities. While
             some of his false statements are more significant than others, his overall responses
             and testimony established a pattern of deceit. For example:

                • Judge Kindred told the Committee numerous times that no sexual interaction
                  occurred with the law clerk at the Airbnb on October 7, 2022, but during
                  pointed questioning by the Council, and when confronted with
                  contemporaneous evidence, he finally admitted that one had taken place.
                  Though this investigation began in 2023, it was not until the Council
                  meeting in April 2024, after multiple opportunities to disclose the truth, that
                  Judge Kindred admitted this conduct.

                • Despite evidence to the contrary, Judge Kindred told the Committee that he
                  neither engaged in a flirtation with a separate, more senior AUSA, nor
                  received nude photographs from her. He admitted to both in response to
                  questioning by the Council.

                • Judge Kindred told the Committee that, when he and the law clerk were in
                  his chambers on October 3, 2022, both kisses were initiated by the law clerk,
                  despite clear evidence to the contrary. When confronted by the Council with
                  that same contemporaneous evidence indicating that he had in fact initiated
                  the kisses, he admitted that the kisses were “mutual.”

                • Judge Kindred told the Committee that the law clerk kissed him once by his
                  desk and once by the door, whereas the law clerk stated that they were
                  sitting down before kissing near the couches. Judge Kindred stated that both
                  kisses occurred away from the couches and that he never sat on a couch
                  despite a text message from Judge Kindred that night bemoaning that the
                  law clerk “sat on the opposite couch” when he wanted her to sit next to him.

                • At multiple points, Judge Kindred mischaracterized the text messages,
                  including often suggesting that the law clerk initiated certain exchanges and
                  that he tried to avoid them. At one point, Judge Kindred told the Special
                  Committee that he heard “through the grapevine” that the law clerk “ha[d]
                  dramatically and intentionally edited the text messages she may have
                  provided as a basis for these accusations.” This is particularly egregious
                  considering that he eventually admitted to the Council most of the conduct
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                    he disputed to the Committee, conduct that was ultimately proven by the
                    messages.

                    By his own admission, Judge Kindred made false statements when he told
             the Special Committee multiple times that no sexual interaction occurred with the
             law clerk at the Airbnb on October 7, 2022. Though the Council acknowledges
             Judge Kindred’s eventual admission regarding the Airbnb sexual encounter, he was
             candid only when confronted with overwhelming contemporaneous evidence and
             pointed questioning by the Judicial Council. In fact, Judge Kindred failed to reveal
             the truth of what occurred at the Airbnb during his oral argument at the start of the
             Judicial Council meeting. Judge Kindred’s oral argument was instead focused on
             providing context about the difficult circumstances under which he started his
             judicial career, his role as confidant to court staff and his colleagues, his
             “fractured” relationships within the court, and the law clerk’s dating history,
             including alluding again to what he characterized as previous accusations she
             brought against others.

                    Judge Kindred’s propensity to lie extended beyond the sexual misconduct
             with the law clerk. As stated, during his October 2023 interview with the Special
             Committee, Judge Kindred was confronted with evidence of inappropriate
             communications with a separate, more senior AUSA. Despite that evidence, Judge
             Kindred stated that he did not have a personal, inappropriate relationship with that
             AUSA and that they never exchanged any inappropriate communications,
             including inappropriate photographs. At the Judicial Council meeting, confronted
             again with that contemporaneous evidence, he performed an about-face, stating
             that he received nude photographs from that senior AUSA and that some flirtation
             occurred.

                    Judge Kindred’s false or otherwise misleading statements to the Chief Judge,
             the Special Committee, and the Judicial Council caused a disruption in these
             proceedings and made it much more difficult for the Special Committee to uncover
             the truth of what occurred. Judge Kindred’s dishonesty impeded the judiciary’s
             ability to conduct an efficient investigation. 18 Because the judiciary is self-
             18
                Throughout these proceedings, Judge Kindred repeatedly missed internal deadlines set by the
             Special Committee or the Chief Judge. This required the Special Committee and Office of the
             Circuit Executive Staff to follow up repeatedly with Judge Kindred to determine whether he
             intended to submit a response, or whether his silence meant that he did not wish to respond. In all
             instances, Judge Kindred was granted an extension to submit a response. In addition to his
             dishonesty, Judge Kindred’s lack of clear communication was disruptive to these proceedings.

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             governing, part of the effective and expeditious administration of the business of
             the courts is to maintain the public’s confidence that the judiciary is adhering to the
             highest ethical standards, and the JC&D process is an integral component of that
             endeavor. In trying to keep the Chief Judge, the Special Committee, and the
             Judicial Council from learning the truth, Judge Kindred obstructed the effective
             and expeditious administration of the business of the courts. Lying to the
             Committee represents an egregious breach of judicial ethics. The public and the
             judiciary expect judges to be honest and truthful, and Judge Kindred has fallen far
             short of that unambiguous expectation.

                    D.      The evidence does not support a finding that Judge Kindred
                            retaliated against individuals for participating in the misconduct
                            process.

                      JC&D Rule 4(a)(4) provides that “cognizable misconduct includes
             retaliating against complainants, witnesses, judicial employees, or others for
             participating in this complaint process, or for reporting or disclosing judicial
             misconduct or disability.” Canon 3B(4) also provides that “[a] judge should
             neither engage in, nor tolerate, workplace conduct that is reasonably interpreted as
             . . . retaliation for reporting such conduct. The duty to refrain from retaliation
             includes retaliation against former as well as current judiciary personnel.”

                    The law clerk reported that Judge Kindred told her to “keep your head down
             and shut the fuck up” when they met later in October 2022, after the two sexual
             encounters. The law clerk also reported that Judge Kindred joked that he could
             make her life miserable if she said anything. Similarly, a friend of the law clerk
             with some knowledge about Judge Kindred’s sexual encounters with the law clerk
             reported that when he met with Judge Kindred about a separate matter, Judge
             Kindred told him to keep his head down. Judge Kindred denied telling the law
             clerk to “shut the fuck up,” but said that telling the friend to keep his head down
             was something he might have said.

                    On review, no evidence lends corroboration to the allegation that Judge
             Kindred impeded any judicial misconduct reporting. There was no formal
             investigation or JC&D proceeding involving the law clerk at that time. The
             investigation did not reveal evidence of Judge Kindred taking retaliatory action,
             such as interfering with the law clerk’s participation in the investigation or her
             employment prospects.


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                   Based on the context and this background, we conclude that the evidence
             does not support a finding of misconduct as it relates to retaliation.

             VII. UNANIMOUS JUDICIAL COUNCIL ORDER

                 After due consideration of the findings herein, the Judicial Council
             ORDERS:

                    (1)     That Judge Kindred is publicly reprimanded by the Judicial Council
                            for the conduct described in this order and further admonishes Judge
                            Kindred that his actions violated the Rules of the Judicial Conduct and
                            Disability Act and the Code of Conduct for United States Judges and
                            are prejudicial to the effective and expeditious administration of the
                            business of the courts and the administration of justice.

                    (2)     That Judge Kindred is requested to resign voluntarily from the
                            position of U.S. District Judge for the District of Alaska.

                    (3)     That this matter be referred to the Judicial Conference to consider
                            impeachment pursuant to the Certification below.

             VIII. CERTIFICATION

                    Upon consideration of the Special Committee’s report, one of the remedial
             actions available to the Judicial Council is referral for impeachment: A judicial
             council must refer a complaint to the Judicial Conference if the council determines
             that a circuit or district judge may have engaged in conduct that might constitute
             grounds for impeachment. See 28 U.S.C. § 354(b)(2)(A); JC&D Rule 20(b)(2).
             Article II, § 4 of the Constitution states that “[t]he President, Vice President and all
             civil Officers of the United States, shall be removed from Office on Impeachment
             for, and Conviction of, Treason, Bribery, or other high Crimes and
             Misdemeanors.”

                   As there is no definition of “high Crimes and Misdemeanors” in the
             Constitution or by statute, Congress often looks to prior judicial impeachments to
             inform its definition of “high Crimes and Misdemeanors”:

                            The House and Senate have both interpreted the phrase
                            broadly, finding that impeachable offenses need not be
                            limited to criminal conduct. Congress has repeatedly
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                            defined “other high Crimes and Misdemeanors” to be
                            serious violations of the public trust, not necessarily
                            indictable offenses under criminal laws. . . .

                            Thus, from an historical perspective the question of what
                            conduct by a Federal judge constitutes an impeachable
                            offense has evolved to the position where the focus is now
                            on public confidence in the integrity and impartiality of
                            the judiciary. When a judge’s conduct calls into questions
                            his or her integrity or impartiality, Congress must consider
                            whether impeachment and removal of the judge from
                            office is necessary to protect the integrity of the judicial
                            branch and uphold the public trust.

             H.R. Rep. No. 111-159, Impeachment of Judge Samuel B. Kent, Report of the
             Committee on the Judiciary to Accompany H. Res. 520, 111th Cong., 1st Sess.
             (2009), at 5-6, 18-19 (hereinafter “Kent Impeachment Report”).

                     False statements made during a JC&D proceeding that were not made under
             oath may constitute impeachable conduct. The impeachment proceedings relating
             to Judge Samuel B. Kent are instructive. See Kent Impeachment Report at 3
             (impeaching Judge Kent for making false statements to the Special Committee
             about the extent of his unwanted sexual contact with two court employees); id.
             (“Judge Kent was indicted and pled guilty and was sentenced to imprisonment for
             the felony of obstruction of justice in violation of section 1512(c)(2) of title 18,
             United States Code, on the basis of false statements made to the Committee. The
             sentencing judge described his conduct as ‘a stain on the justice system itself.’”);
             id. at 18-19 (“As to Judge Kent’s false statements to the Fifth Circuit (the basis of
             his criminal conviction), [Professor] Hellman noted: ‘False testimony by a Federal
             judge in a judicial misconduct proceeding falls easily within the realm of ‘high
             crimes and misdemeanors’ that warrant impeachment.’”). Section 1512(c)(2)
             provides that “[w]hoever corruptly . . . obstructs, influences, or impedes any
             official proceeding, or attempts to do so, shall be fined under this title or
             imprisoned not more than 20 years, or both.” Section 1512(c)(2) does not require
             false statements to be made under oath. Additionally, false statements to the Chief
             Judge, Special Committee, and the Judicial Council may also constitute criminal
             conduct under 18 U.S.C. § 1001 (providing that falsifying, concealing, or covering
             up by any trick, scheme, or device a material fact, or making any materially false,
             fictitious, or fraudulent statements or representations to a federal official about a
             federal issue constitutes a federal offense).
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                    Judge Kindred did not make false statements because of some lapse in
             memory. Rather, Judge Kindred admitted that he deliberately misled the Special
             Committee despite knowing the correct and honest answers. When asked if he lied
             to the Committee, Judge Kindred responded, “I—I did.” Judge Kindred also
             acknowledged that he was provided multiple opportunities to correct the record but
             chose not to. Indeed, even after receiving the Special Committee report, which
             found that Judge Kindred had been dishonest throughout the investigation, Judge
             Kindred still stuck to his false narrative. Judge Kindred misled the Chief Judge,
             the Special Committee, and the Judicial Council for as long as he could. Only
             when faced with overwhelming evidence and repeated questioning by the Council
             did Judge Kindred finally, in a piecemeal fashion, provide the details of his
             conduct, including what occurred at the Airbnb.

                    Given these facts, we have no doubt that Judge Kindred, through his false
             statements, obstructed, influenced, and impeded these JC&D proceedings, or at the
             very least, attempted to obstruct, influence, or impede these proceedings. The false
             statements that Judge Kindred has made throughout these proceedings, along with
             the severity of Judge Kindred’s misconduct, may constitute one or more grounds
             for impeachment.

                    ACCORDINGLY, pursuant to 28 U.S.C. § 354(b)(2)(A), the Judicial
             Council of the Ninth Circuit CERTIFIES to the Judicial Conference of the United
             States its determination that United States District Judge Joshua M. Kindred has
             engaged in conduct, described above, which might constitute one or more grounds
             for impeachment under Article II of the Constitution.

                    Together with such determination, the Judicial Council transmits to the
             Chief Justice of the United States, as presiding officer of the Judicial Conference:
             (1) the complaint identified by Chief Circuit Judge Murguia; (2) the Special
             Committee Report; (3) Judge Kindred’s Response to the Special Committee
             Report; (4) the record of proceedings before the Judicial Council; and (5) any other
             records associated with the proceedings in this matter.

                   The Judicial Council urges the Judicial Conference of the United States to
             take expeditious action on this matter pursuant to 28 U.S.C. § 355(b).19

             19
               Pending the Judicial Conference’s decision on whether it will certify its determination that
             consideration of impeachment may be warranted, the Judicial Council retains jurisdiction over this

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                   The Circuit Executive is directed to transmit this Order and Certification to
             Judge Kindred and the Judicial Conference. The delivery of copies of this Order
             and Certification will constitute notice to Judge Kindred of action taken under 28
             U.S.C. § 354(b)(2)(A). This Order shall be made publicly available consistent
             with 28 U.S.C. § 360(b) and JC&D Rule 23(b)(8). The Special Committee’s report
             and other materials related to this matter shall remain confidential pursuant to 28
             U.S.C. § 360(a).

                    Judge Kindred is reminded that the JC&D Rules prohibit retaliation against
             witnesses, judicial employees, or others for participating in the judicial misconduct
             process or for reporting or disclosing judicial misconduct or disability. Until the
             Judicial Conference makes its determination in response to this Order and
             Certification, Judge Kindred is also reminded that if any of his employees raise
             issues similar in nature to those raised in this complaint, there are procedures in
             place, including procedures established by the Employment Dispute Resolution
             Plan and the Office of Workplace Relations, that should dictate any response.

             IT IS SO ORDERED.




             matter. In the event the Judicial Conference does not make such a certification, the Judicial
             Council may revisit whether additional remedial action may be warranted.
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